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1                                UNITED STATES DISTRICT COURT
2                                       DISTRICT OF NEVADA
3     ADAM GOBER,
                                                            Case No. 3:20-cv-00581-MMD-CLB
4                                             Plaintiff,
                                                                              ORDER
5            v.
6     JOHN NIMAN, et al.,
7                                         Defendants.
8    I.     DISCUSSION
9           On October 12, 2020, Plaintiff, an inmate in the custody of the Nevada Department
10   of Corrections (“NDOC”), submitted a civil rights complaint under 42 U.S.C. § 1983. (ECF
11   No. 1-1). Plaintiff has neither paid the full $400 filing fee for this matter nor filed an
12   application to proceed in forma pauperis with complete financial attachments.
13          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin
14   a civil action in this Court may apply to proceed in forma pauperis in order to file the civil
15   action without prepaying the full $400 filing fee. To apply for in forma pauperis status, the
16   inmate must submit all three of the following documents to the Court:
17          (1) a completed Application to Proceed in Forma Pauperis for Inmate, this
18                Court’s approved form (i.e. pages 1 through 3 with the inmate’s two signatures
19                on page 3),
20          (2) a Financial Certificate properly signed by both the inmate and a prison or jail
21                official (i.e. page 4 of this Court’s approved form), and
22          (3) a copy of the inmate’s prison or jail trust fund account statement for the
23                previous six-month period.
24          The Court will grant Plaintiff a one-time opportunity to file a fully complete
25   application to proceed in forma pauperis containing all three of the required documents,
26   or in the alternative, pay the full $400 filing fee for this action on or before November 30,
27   2020. Absent unusual circumstances, the Court will not grant any further extensions of
28   time. If Plaintiff is unable to file a fully complete application to proceed in forma pauperis
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1    with all three required documents or pay the full $400 filing fee on or before November
2    30, 2020, the Court will dismiss this case without prejudice for Plaintiff to file a new case
3    with the Court when Plaintiff is either able to acquire all three of the documents needed
4    to file a fully complete application to proceed in forma pauperis or pays the full $400 filing
5    fee.
6           A dismissal without prejudice means Plaintiff does not give up the right to refile the
7    case with the Court, under a new case number, when Plaintiff has all three documents
8    needed to submit with an application to proceed in forma pauperis. Alternatively, Plaintiff
9    may choose not to file an application to proceed in forma pauperis and instead pay the
10   full filing fee of $400 on or before November 30, 2020 to proceed with this case.
11          The Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1), but the Court
12   will not file the complaint unless and until Plaintiff timely files a fully complete application
13   to proceed in forma pauperis with all three documents or pays the full $400 filing fee.
14   II.    CONCLUSION
15          For the foregoing reasons, IT IS ORDERED that the Clerk of the Court will send
16   Plaintiff the approved form application to proceed in forma pauperis by an inmate, as well
17   as the document entitled information and instructions for filing an in forma pauperis
18   application.
19          IT IS FURTHER ORDERED that on or before November 30, 2020, Plaintiff will
20   either pay the full $400 filing fee for a civil action (which includes the $350 filing fee and
21   the $50 administrative fee) or file with the Court:
22          (1) a completed Application to Proceed in Forma Pauperis for Inmate, this
23              Court’s approved form (i.e. pages 1 through 3 with the inmate’s two signatures
24              on page 3),
25          (2) a Financial Certificate properly signed by both the inmate and a prison or jail
26              official (i.e. page 4 of this Court’s approved form), and
27          (3) a copy of the inmate’s prison or jail trust fund account statement for the
28              previous six-month period.



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1           IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete
2    application to proceed in forma pauperis with all three documents or pay the full $400
3    filing fee for a civil action on or before November 30, 2020, the Court will dismiss this
4    action without prejudice for Plaintiff to refile the case with the Court, under a new case
5    number, when Plaintiff has all three documents needed to file a complete application to
6    proceed in forma pauperis or pays the full $400 filing fee.
7           IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint
8    (ECF No. 1-1) but will not file it at this time.
9                  October 19, 2020
            DATED:_________________
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11                                                _________________________________
                                                  UNITED STATES MAGISTRATE JUDGE
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